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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

VIATEUR COMMEREE,
Plaintiff,
Civ. No. 97-0242 (TFH)* 24
Civ. No. 97-1632 (TFH) * #©
Civ. No. 97-2398 (TFH) 4 27
Civ. No. 98-1875 (TFH)4¥

Vv.

ALAN HANTMAN, Architect of the
Capitol,

PEGGY LAMBERT TYLER,

JANIS JOHNSON,

DIANE DeCANIO,

KATHLEEN GAUSE,

LAWRENCE STOFFEL,

JERRY SHAW,

CHARLES TYLER,

HECTOR SUAREZ,

JAMES MILLER,

ANN FITZGERALD,

JUANITA CASTRO,
Defendants.

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MEMORANDUM OPINION

Pending before this Court are defendants’ motions to dismiss pursuant to Federal Rules of
Civil Procedure 12(b)(1) and 12(b)(6). Plaintiff Viateur Commeree has filed four complaints, the
first three of which have been consolidated. In response, defendants have filed one consolidated
motion to dismiss the consolidated complaints and a second motion to dismiss the fourth
complaint. Because the factual allegations and legal issues are sufficiently similar in all four
complaints, both motions will be addressed in this Memorandum Opinion. Due to Mr.
Commeree’s failure to establish a prima facie case of discrimination or constitutional violation in

any of the complaints, the Court will grant defendant’s motions.

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I. BACKGROUND

Consistent with the standard for motions to dismiss, the Court assumes the facts pleaded
as true.! See Moore v. Aspin, 916 F.Supp. 32, 34 (D.D.C. 1996). Commeree asserts multiple
constitutional and employment discrimination counts which include allegations that defendants
violated the Americans With Disabilities Act (“ADA”), retaliated against him for requesting
reasonable accommodations under the ADA, and violated his rights of Due Process and Equal
Protection guaranteed by the 5" Amendment and various District of Columbia laws. Throughout
his extensive and complicated history with his employer, the Architect of the Capitol (“AOC”),
Commeree officially held the position of Assistant Head of the Inventory Management Division
(“IMD”) of the Senate Office Buildings of the Office of the AOC. The AOC employed
Commeree in this position from December 1989 until his termination in August of 1997. On two
occasions, however, from December 1993 to November 1994 and again from July 1995 until his
termination, Commeree was detailed to the Furniture Division of the Senate Office Buildings
after receiving official reprimands for inappropriate conduct. His position in the Furniture
Division entailed fewer responsibilities but no decrease in grade or pay.

In February 1995, after being diagnosed with Attention Deficit Hyperactivity Disorder
(“ADHD”), Commeree advised the Equal Employment Opportunity Office of his disability and
requested reasonable accommodations. Commeree’s request included a private office or non-
distracting workplace, checklists of multistaged tasks, all instructions given in writing or by e-

mail, intermediate deadlines, a single supervisor to assign work and assistance in setting up a

 

In a number of instances the factual allegations in plaintiffs pleadings are
inconsistent with each other. In such instances, the Court has taken the facts most
favorable to the plaintiff.

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time management system.

In July of 1995, the AOC sent Commeree a “personnel action letter” which denied his
request for reasonable accommodations and proposed three alternatives: (1) returning to the
position of Assistant Head of IMD without accommodations and with a warning that failure to
perform the essential functions of the position would result in termination; (2) applying for
disability retirement; or (3) accepting the position of service clerk with a substantial reduction in
pay. Commeree refused to accept any of those options, and, considering such a response
unlawful, filed a formal complaint for redress from unlawful employment practices with the
Office of Compliance later that May. Due to the stress of his negotiations with AOC, and
pursuant to medical orders, Commeree requested and took six weeks of advanced sick leave.
Commeree received the “Final Agency Decision” of the AOC in December of 1996 denying his
request for reasonable accommodations and again offering him the three options. On January 28,
1997, Commeree received a termination letter that cited his “medical inability to perform the
essential functions of your position with or without accommodation” as a reason for termination.
Plaintiff requested and received an administrative hearing on the proposed termination on June
23, 1997. The hearing officer subsequently issued an opinion supporting termination. On

February 4, 1997, Commeree filed the instant action.

Il. DISCUSSION
In his Complaints filed on February 4, 1997 (97-0242), July 17, 1997 (97-1632), and

October 16, 1997 (97-2398), which were consolidated on July 6, 1998, Commeree alleges
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thirteen counts against the defendants”: (1) employment and disability discrimination for failure
to reasonably accommodate in violation of 2 U.S.C. §1311; (2) employment and disability
discrimination for retaliation in violation of 2 U.S.C. §1317; (3) employment and disability
discrimination for refusal to approve advanced sick leave in violation of 2 U.S.C. §1311(a)(3);
(4) employment and disability discrimination for improper application of discriminatory criteria
on request for advanced sick leave; (5) employment and disability discrimination for improper
medical inquiries on a request for advanced sick leave; (6) employment and disability
discrimination for retaliation in violation of 2 U.S.C. §1317; (7) discrimination based on
retaliation in violation of 2 U.S.C. §1317(a); (8) a violation of the Equal Protection Clause of the
5" Amendment to the United States Constitution for failure to make reasonable accommodations;
(9) violation of the substantive due process clause of the 5" Amendment for refusing to make
reasonable accommodations; (10) violation of the procedural due process guaranteed by the 5"
Amendment for failure to make reasonable accommodations; (11) intentional misrepresentation
in violation of District of Columbia law; and (12) intentional infliction of emotional distress in
violation of District of Columbia law. After careful review of the extensive pleadings, the Court
will grant defendants’ motion to dismiss based on plaintiff's failure to establish a prima facie
case on all counts except the state tort claims. Additionally, the Court will decline to exercise
supplemental jurisdiction over the District of Columbia claims and dismiss them without

prejudice.

 

The United States government has certified that Peggy Lambert, Janis Johnson,
Diane DeCanio, Kathleen Gause, Lawrence Stoffel and Jerry Shaw were acting
within the scope of their authority as employees of the United States, thus the
United States is substituted for these individually sued defendants for the relevant
tort counts.

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A. Standard of Review

In analyzing a motion to dismiss, this Court must consider the facts presented in the
pleadings as true and construe them and all reasonable inferences in the light most favorable to
the plaintiff. See Moore v. Aspin, 916 F.Supp. at 32 n.1. The Court need not consider inferences
that are unsupported by the facts or legal conclusions framed as facts. See Kowal v. MCI
Communications Corp., 16 F.3d 1271, 1276 (D.C.Cir. 1994). The motion can be granted, and
the complaint dismissed, only if no relief could be granted upon those facts. See id.

The pleadings in this case include over fifty supplementary documents submitted by both
the plaintiff and the defendant. Federal Rules of Civil Procedure 12(b) requires that a motion to
dismiss be considered according to the summary judgment standard if the movants submit
matters outside the pleadings that are not excluded by the court.’ See FED. R. Clv. P. 12(b), 56;
see also IMS v. Alvarez, 129 F.3d 618, 619 (D.C. Cir. 1997). Therefore, the Court will disregard
all supplemental material submitted with the pleadings, and consider the pleadings on their face.
B. Employment Discrimination

The Court in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), articulated the
allocation of burdens for an allegation of discriminatory employment practices. Under the
McDonnell Douglas framework, a plaintiff bears the initial burden of showing a prima facie case
of discrimination. Id. at 802; see also Aka v. Washington Hospital Center, 156 F.3d 1284, 1288

(D.C.Cir. 1998). If that burden is met, then it shifts to the defendant to show a legitimate, non-

 

° Rule 12(b) mandates that the Court convert the Motions to Dismiss to Motions for
Summary Judgment if it considers matters outside the pleadings, and apply the
standard articulated in Rule 56, including giving parties reasonable opportunity to

present all relevant material. See FED. R. Civ. P. 56; see also Gordon v. National
Youth Work Alliance, 675 F.2d 356, 360 (D.C. Cir. 1982).

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discriminatory reason for its challenged employment practices. Once that showing is made, the
burden shifts back to the plaintiff to demonstrate that the purported legitimate reasons are a
pretext for discrimination. Id.; Aka, 156 F.3d at 1288.

1. ADA Violations

Commeree alleges that the AOC violated the ADA by refusing to make reasonable
accommodations for his disability. The ADA requires that employers make “reasonable

accommodations” for an “otherwise qualified individual” with a disability unless the employer

can show that such accommodations would cause an undue burden. 42 U.S.C. §12112(b)(5)(A).

In order for Commeree to establish a prima facie case under the ADA, he must establish that a
reasonable jury could find that: (1) he has a disability within the meaning of the ADA; (2) he is
otherwise qualified to perform the essential functions of the position with or without reasonable
accommodations; and (3) he was discharged because of his disability. See Swanks v.
Washington Metropolitan Area Transit Authority, 179 F.3d 929 (D.C. Cir. 1999).

The AOC concedes that ADHD is a cognizable disability under the ADA. See 2 U.S.C.
1311(a)(3). The AOC maintains, however, that Commeree cannot establish that he is an
“otherwise qualified individual” so as to invoke the protections of the ADA. A person is
“otherwise qualified” if he can perform the essential functions of his job with or without
accommodations. See Southeastern Community College v. Davis, 442 U.S. 397 (1979); 42
U.S.C. §12111(8). Consequently, Commeree must first show that he possesses the skill,
experience, education and ability to perform the essential functions of the Assistant Head
position, 29 C.F.R. §1630.2(m), and second that he can perform those functions with or without
reasonable accommodations. See Kalekiristos, 958 F.Supp. at 660.

The AOC’s judgment as to the essential functions of a job, especially if they are

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memorialized in job descriptions, are entitled to great deference by this Court. See 42 U.S.C.
§12111(8); Reil v. Electronic Data Systems Corp., 99 F.3d 678 (5" Cir. 1996). The AOC’s job
description for the position of Assistant Head includes many and various supervisory tasks,
including directing subordinates, maintaining inventory, advising the Head of the division and
acting on personnel matters. Defendants contend that the accommodations deemed necessary for
Commeree by his physician foreclose him from performing the essential functions of the position
of Assistant Head. The Court agrees, recognizing that the accommodations requested, such as a
non-distracting workplace, checklists of multistaged tasks, instructions in written or e-mail form,
intermediate deadlines, and a single supervisor from whom to take assignments, would render
Commeree unable to perform the essential functions of his position. The requested
accommodations put the plaintiff in a position of an employee who needs supervision instead of
a supervisor who must exercise independent judgment, interface with his subordinates, and
juggle tasks when necessary as required for the Assistant Head position. The AOC is not
required to reallocate the essential supervisory functions previously assigned to Commeree in
order to accommodate him. See 29 C.F.R.App. §1630.2(0); see also Haysman v. Food Lion, 893
F.Supp. 1092, 1101 (S.D. Ga. 1995). Commeree has refused AOC’s offer to return to his
position without accommodations, which this Court can only presume demonstrates that he is
either unable or unwilling to perform the essential functions of the position without
accommodations. Because Commeree has made no showing that he is qualified to perform his
job with or without accommodations, he fails to plead a prima facie case of disability
discrimination, and his ADA claims will therefore be dismissed.

2. Retaliation

Commeree alleges that the AOC violated 2 U.S.C. §1317 by retaliating against him for

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filing a complaint with EEO and requesting reasonable accommodations. First, he contends that
the “personnel action letter” was retaliatory in that it was an attempt to coerce him into accepting
one of three unsatisfactory employment options or face termination. Second, he claims that AOC
retaliated against him by delaying approval of his advanced sick leave, applying discriminatory
criteria to the request and making improper medical requests for confidential information. The
AOC contends that Commeree’s only recourse for dissatisfaction with administrative results is a
de novo review of the merits, and that he seeks to skirt that avenue by framing his dissatisfaction
as a claim of retaliation. The Congressional Accountability Act (CAA) under which this claim is
brought, however, conveys the protections of the ADA to legislative employees and does contain
a civil suit provision. See 2 U.S.C. §1302(3); 2 U.S.C. §1403(a). The Court therefore considers
Commeree’s claims as properly within its jurisdiction and finds that his administrative remedies
have been exhausted.* The Court will dismiss his claims, however, for failure to establish a
prima facie case of retaliation.

In order to establish a prima facie case of retaliation, Commeree must plead: (1) that he
was engaged in a protected activity; (2) that the AOC took adverse action; and (3) that a causal
connection existed between the protected activity and his employer’s action. See McKenna v.
Weinberger, 729 F.2d 783, 790 (D.C. Cir. 1984), aff'd, 729 F.2d 783 (D.C. Cir. 1984). If this
burden is met, the burden shifts to the defendant to show a legitimate, non-retaliatory reason for
its actions. Id.

Commeree easily satisfies the first element of his retaliation claim as both filing an

administrative complaint and requesting accommodations pursuant to the ADA are federally

 

Commeree properly filed a complaint with the EEO, had a hearing and received
“Final Agency Decision.” ,

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protected activities. His claim is deficient, however, on the remaining two elements. It is
unclear to the Court that the bureaucratic delay in the approval of sick leave can be considered
adverse action, as the request was ultimately granted. It is also unclear how the second adverse
action alleged by Commeree, the “personnel action letter” issued by the AOC, is adverse
considering that it outlined three options, including returning to his job. Construing all
inferences in the light most favorable to the plaintiff, however, the Court will accept that a jury
could determine AOC’s actions to be adverse. This concession notwithstanding, Commeree still
fails to establish a prima facie case of retaliation as the pleadings are devoid of any facts to
support a causal connection between his protected act and any adverse action by the AOC.
Although Commeree alleges “a direct and proximate nexus” between his protected activities and
the AOC’s actions, Commeree pleads no fact from which the Court could infer such a
connection. Bald allegations of a causal connection are not sufficient. See Kowal, 16 F.3d 1271
at 1276 (“[nJor must the court accept legal conclusions cast in the form of factual allegations”).
Accordingly, plaintiffs retaliation claims will be dismissed.
C. Equal Protection

Commeree alleges that the AOC’s refusal to make reasonable accommodations was
arbitrary and capricious and bore no relation to a legitimate state interest, and was therefore in
violation of the Fifth Amendment’s Equal Protection Clause. Constitutional claims brought on
behalf of disabled plaintiffs are subject to the rational basis test. See Cleburne v. Cleburne
Living Center, 473 U.S. 432,439 (1985); see also Women Prisoners of the District of Columbia
Dept. of Corrections v. District of Columbia, 93 F.3d 910, 924 (D.C.Cir. 1996). In order to even
apply this test, however, Commeree must demonstrate that he was treated differently from

similarly situated individuals. Women Prisoners of the District of Columbia Dept. of

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Corrections, 93 F.3d at 924. Because Commeree fails to plead any fact indicating that AOC |
treated him differently from a similarly situated class of people, he fails to establish a prima facie
case that he was denied the equal protection of the laws. Defendant is therefore entitled to

judgment as a matter of law.

D. Due Process

Commeree also contends that AOC violated his right to the procedural due process
guaranteed by the Fifth Amendment because it did not give him proper notice that his request for
reasonable accommodations was a ground to “precipitate an adverse action.” He further
contends that AOC violated his right to substantive due process under the Fifth Amendment by
creating an irrebuttable presumption that people with ADHD cannot perform the position of
Assistant Head of the IMD.

Under the law of due process, Commeree must first identify a constitutionally protected
property or liberty interest. See Cleveland Board of Education v. Loudermill, 470 U.S. 532
(1985); see also Brock v. Roadway Express, Inc., 481 U.S. 252 (1987) (holding that
determination of whether due process is due precedes a determination of what process is due).
Property interests in employment are not generally created by the Constitution, but rather are
statutory entitlements. See Loudermill, 470 U.S. at 541; see also Garrow v. Gramm, 856 F.2d
203, 205 (D.C. Cir. 1988). A statute can establish a property right by qualifying the terms of
employment by, for instance, mandating that an employee cannot be discharged without cause.
The Civil Service Reform Act of 1978 determines the rights of civil servants like Commeree, and

distinguishes three categories of government employees: Senior Executive Service, Competitive

designated by statute to be part of the Excepted Service. See 5 U.S.C. §2107(7). Employers are

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Service and Excepted Service. Id. at 205. All employees of the AOC, including Commeree, are |
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entitled to dismiss members of the Excepted Service without cause, prior notice, a termination
hearing or an opportunity to appeal. See Garrow, 856 F.2d at 205.° Commeree grounds his
statutory grant of a property right in his employment in 5 U.S.C. § 7501 and 5 U.S.C. § 4301, but
neither of these statutes covers Excepted Service employees and thus does not convey the
property interest Commeree purports to have. Because he fails to establish any property or
liberty interest, plaintiff's Due Process claims will be dismissed.
E. Tort Claims

Commeree invokes the doctrine of pendent jurisdiction to bring District of Columbia law
claims for intentional infliction of emotional distress and intentional misrepresentation. The
doctrine of pendent jurisdiction enables a federal court to consider a related state law claim
against the same defendant if it has an independent basis for exercising federal jurisdiction and
the state and federal claims have a common nucleus of facts. See Women Prisoners of the
District of Columbia Department of Corrections, 93 F.3d at 920; see also Prakash v. American
University, 727 F.2d 1174, 1182 (D.C. Cir. 1984). Under 28 U.S.C. § 1367(c), a district court
may dismiss any claims within its supplemental jurisdiction if it has dismissed those claims over

which it has original jurisdiction. 28 U.S.C. § 1367(c); see also National Organization for

 

Women v. Operation Rescue, 37 F.3d 646, 651 (D.C.Cir. 1994). Commeree has failed to
establish any claim that arises under the original jurisdiction of this Court and the Court finds no
reason to exercise supplemental jurisdiction over the District of Columbia claims. His state

claims will therefore be dismissed without prejudice. See United Mine Workers v. Gibbs, 383

 

Despite this absence of procedural requirements, Commeree did receive notice of

his proposed termination and a hearing. Indeed, at one point he seems to concede

that more procedures were given than required by the Constitution. See Plaintiff's
Opposition to Defendant’s Motion to Dismiss, p. 35.

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| US. 715, 726 (1966) (Certainly, if the federal claims are dismissed before trial, even though not

| insubstantial in a jurisdictional sense, the state claims should be dismissed as well’’).

F. The Fourth Complaint
| In Commeree’s Fourth complaint, 98-1875,° he recasts the constitutional and tort claims
; as allegations of conspiracy. He alleges that defendants conspired to violate the due process
| clause to effect wrongful discharge, and conspired to tortiously interfere with plaintiff's
employment in violation of District of Columbia law.

First, Commeree alleges that defendants conspired to deprive him of his due process
rights and his property interest in employment, as demonstrated by their: (1) failure to give
| notice of the charges on which the Proposal to Terminate was based; (2) failure to allow

favorable witness testimony at his administrative hearing; and (3) permitting an unfair and partial

 

hearing officer to preside over his hearing. Commeree fails to ground his cause of action on any
' statutory or common law authority,’ so the Court will presume his reliance on 42 U.S.C. §1983,
the provision that establishes a cause of action for deprivations of due process. A similar

provision, 42 U.S.C. §1985, gives rise to a cause of action for deprivation of equal protection and

 

i Commeree has named eleven defendants in his fourth complaint, ten of whom are
named in their individual capacities. They are: Alan Hantman, Charles Tyler,
Peggy Lambert Tyler, Hector Suarez, Janis Johnson, Diana DeCanio, James
Miller, Ann Fitzgerald, Juanita Castro, Lawrence Stoffel and Jerry Shaw. All
defendants are sued in their personal capacity with the exception of Alan
Hartman. The government has certified that all of the defendants were acting
within the scope of their employment.

Commeree alleges multiple violations of administrative regulations pertaining to

| the administration of hearings. Such claims, while they may constitute a violation
of the Administrative Procedures Act, are not sufficient to establish a due process
cause of action absent the showing of a property right.

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includes a cause of action for conspiracy to violate equal protection rights. Unlike §1985,
however, §1983 provides no cause of action for conspiracy to violate a person’s due process
rights. See Jennings v. Nester, 217 F.2d 153, 154 (1954), cert denied, 349 U.S. 958 (1955);
accord Joyce v. Ferrazzi, 323 F.2d 931,932 (1" Cir. 1963) (“Section 1985(3), supra, by its terms,
does not give a cause of action for conspiracy to deny federally guaranteed rights generally,
including the right to due process of law”); accord Henson v. City of St. Francis, 322 F. Supp.
1034, 1038 (E.D. Wis. 1971) (‘As to the plaintiffs' alleged cause of action under §1985(3), it is
noted that such section runs only to conspiracies that result in a denial of the equal protection of
the law and does not embrace a denial of due process”). Therefore, Commeree’s only available
due process cause of action if to show an actual deprivation of due process violation. See
Jennings, 217 F.2d at 154. (“[T]he Act creates a cause of action for a conspiracy to deny equal
protection but not for a conspiracy to deny due process. There must, of course, be an actual
denial of due process before a cause arises”). Because of the Court’s prior determination that
Commeree has not demonstrated the requisite property right to establish a deprivation of Due
Process under the Fifth Amendment, defendants are entitled to judgment as a matter of law.
Second, Commeree has again failed to raise an issue of federal question for this Court to
consider and the pendent tort claims will therefore be dismissed without prejudice. See

discussion, infra, Part II.E.
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Ill. CONCLUSION
For the reasons stated above, the Court will grant defendants’ motions to dismiss.

Appropriate Orders will accompany this Memorandum Opinion.

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Thomas F. Hoggn )
United States District Judge

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